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» AO 440 Rev. 06/12) Summons in a Civil Action

 

 

UNITED STATES DISTRICT COURT

for the

Eastern District of Texas

Ralph Lynn Ferguson, dr.

 

Plaintiff(s)

J. KEITH STANLEY
individually and as partner at
FAIRCHILD, PRICE, HALEY & SMITH L.L.P.

 

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Defendant(s) Co Ee "

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

J. KEITH STANLEY
413 Shelbyville Street,
P.Q. Drawer 1719,
Center, Texas 75935.

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:

Ralph Lynn Ferguson, Jr.
1192 Highway 27
DeRidder, Louisiana 70634

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT
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Date: \-1o- Loit

 

 

Signature of Clerk or Deputy Clerk

 
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Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ, P. 4 (1)

This summons for (name of individual and title, ifany) J. KEITH STANLEY

 

was received by me on (date)

 

( I personally served the summons on the individual at (place)

 

on (date) 5 or

 

(J T left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

On (date) , and mailed a copy to the individual’s last known address; or

( I served the summons on (name of individual) :, who is

 

designated by law to accept service of process on behalf of (name of organization)

 

OT (date) > Or

 

(7 I returned the summons unexecuted because 3 Or

 

[1 Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

 

Server’s signature

 

Printed name and title

 

Server’s address

Additional information regarding attempted service, etc:

 
